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DECLARATION OF GHULAM MUHAMMAD

|, Ghulam Muhammad (A# RR), hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct.

ms

| make this declaration based on my own personal knowledge and if called to testify | could
and would do so competently and truthfully to these matters.

My name is Ghulam Muhammad. | am 48 years old and from Pakistan. | came to the United
States in August 2024 to seek asylum due to threats from the Taliban. | have been in
immigration detention since entering the United States and am detained at Eloy Detention
Center in Eloy, Arizona.

| was notrepresented by counsel during my removal proceedings. On February 4, 2025, |
was ordered removed to Pakistan.

| heard that the U.S. government has started transferring people with final orders to the
military base at Guantanamo Bay, Cuba. | also heard the U.S. government is targeting
people they think are criminals or gang members, even if they have no proof.

lam afraid of being transferred to Guantanamo. | believe that | am at risk of being
transferred because | have a final order of deportation and am from Pakistan.

| do not want to be transferred to or detained at Guantanamo. | am afraid of what will
happen to me when | get there. | heard that there is no ability to contact lawyers or family
from Guantanamo. | want access to an attorney to help me get out of detention and figure
out what options | have in my immigration case.

Everything in this declaration is true and correct to the best of my knowledge and
recollection. This declaration was read back to me in Pashto, a language in which | am
fluent.

Executed on the 28th of February, 2025 in Eloy, Arizona.

AE fis

Ghulam Muhammad

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ATTESTATION AND CERTIFICATE OF TRANSLATION
|, Philip Rody, certify that | read the above document titled “Declaration of Ghulam Muhammad”
from English to Pashto using live telephonic interpretation provided by Jennie Interpreters

(interpreter ID # Bt] 606) on February 28, 2025. The interpreter affirmed that he/she is fluent in

both English and Pashto. Mr. Muhammad confirmed that he understood the interpreter and that, to
the best of his knowledge, the content of this declaration was correct before signing it.

| declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and
correct.

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Philip Rody
Managing Attorney
The Florence Project
